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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

 ASHTON ORR, ZAYA PERYSIAN,
 SAWYER SOE, CHASTAIN ANDERSON,
 DREW HALL, BELLA BOE, and REID
 SOLOMON-LANE, on behalf of themselves
 and others similarly situated,
                                 Plaintiffs,
     v.                                                Case No. _________

 DONALD J. TRUMP, in his official capacity
 as President of the United States; U.S.
 DEPARTMENT OF STATE; MARCO
 RUBIO, in his official capacity as Secretary
 of State; and UNITED STATES OF
 AMERICA,
                                 Defendants.




                              CLASS ACTION COMPLAINT
                       FOR DECLARATORY AND INJUNCTIVE RELIEF
          1.      This is an action for declaratory and injunctive relief arising out of the Trump

Administration’s abrupt, discriminatory, and dangerous reversal of settled United States passport

policy. The United States previously issued passports to transgender, intersex, and nonbinary

people that reflected the sex they live as and express, rather than the sex they were assigned at

birth. Under the government’s new arbitrary and unlawful policy (the “Passport Policy”), the

United States now refuses to issue passports to otherwise eligible Americans because they are

transgender, intersex, or nonbinary—except on terms that expose them to grievous harms and

violate their constitutional rights to equal protection, travel, privacy, and speech and flout the

Administrative Procedure Act (the “APA”).

          2.      The State Department previously permitted all people—including those who are

transgender, intersex, and nonbinary—to obtain passports with sex designations that reflected the

sex they live as. This included permitting individuals to use the male or female sex designation
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that reflected the sex they live as and an “X” designation on passports available to individuals who

do not identify as female or male or who did not want their sex specified on their passport. The

previous State Department policy enhanced consistency across identification documents: most

U.S. states permit transgender residents to have a sex designation on their driver’s licenses that

match the sex they live as and increasingly allow “X” designations as well. The federal Passport

Policy rashly requires passports to list only either female or male based on newly concocted and

scientifically inaccurate definitions of an individual’s sex determined by whether they “belong[],

at conception, to the sex that produces” either “the large” or “the small reproductive cell.”

        3.      The Passport Policy is unlawful and unconstitutional. It discriminates against

individuals based on their sex and, as to some, their transgender status. It is motivated by

impermissible animus. It cannot be justified under any level of judicial scrutiny, and it wrongly

seeks to erase the reality that transgender, intersex, and nonbinary people exist today as they always

have.

        4.      The inevitable, immediate, and direct result of the Passport Policy is that

transgender, intersex, and nonbinary people have been injured. Passports are critical documents

for international travel and other purposes. For many of the people now barred from receiving a

passport unless they accept one with the Trump Administration’s inaccurate sex designation, they

are forced to “out” themselves over and over again, harming them and imposing wrongful barriers

to travel. Those who look at the passport—including anyone hostile to transgender people, as the

Trump Administration is and officials in many countries are—may discern that a passport holder

is transgender from a perceived mismatch between the sex designation on their passport and their

appearance, and may question the validity of their passport. The results may be catastrophic,

including causing serious psychological harm, denial of the ability to enter or leave a country,

physical violence from people who despise transgender people, and even the passport holder being

arrested and imprisoned by border control agents in foreign countries.

        5.      The Passport Policy was the product of an animus-filled executive order issued by

President Trump on the first day of his term, titled “Defending Women from Gender Ideology

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Extremism and Restoring Biological Truth to the Federal Government,” Executive Order 14168,

90 Fed. Reg. 8615 (Jan. 20, 2025) (the “Executive Order”) (attached as Exhibit A). On its face,

the Executive Order declares that it is the policy of the federal government that there are only two

sexes and that, for all federal legal purposes, sex is unalterably fixed at conception; it thus attempts

to impose a government-wide policy that transgender, nonbinary, and some intersex people do not

exist. The Executive Order also asserts without basis or evidence that individuals claim to be

transgender only to invade women’s private spaces. The Executive Order is transparently unlawful

and unconstitutional. It also is unmoored from scientific and medical reality: Transgender people,

intersex people, and people who do not identify as either (or exclusively) male or female exist.

Scientific and medical authorities have recognized that fact, as have courts across the country,

including the U.S. Supreme Court. In a stroke, the Executive Order seeks to rewrite those realities

and replace them with the sole options of “male” or “female” as defined in the Executive Order

based on no science, no evidence, and no meaningful explanation aside from empty, dehumanizing

rhetoric.

        6.      Though publicly silent, the State Department has already implemented its new

Passport Policy. On information and belief, and according to many news reports, the Secretary of

State has ordered the State Department to suspend processing of passport applications that seek to

change the sex designation on a person’s passport or that selected an “X” sex designation—sowing

chaos and causing immediate irreparable harm. As further proof of implementation, after Plaintiff

Zaya Perysian requested a new passport reflecting that she is a woman, she received her passport

back on January 28, 2025 with an “M” sex designation, along with a form stating that the sex on

her passport application had been “corrected.”

        7.      Without complying with its statutory obligation to provide a 60-day notice and

comment period, the State Department has also changed its passport application forms to exclude

the “X” sex designation option that has existed on the form for years.

        8.      The Passport Policy and Executive Order are part of a broader assault against

transgender and nonbinary people by this Administration and are part of a historical pattern of

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federal and state governments attacking and seeking to erase transgender, intersex, and nonbinary

people. The Executive Order’s tortured definition of sex is already being implemented across the

federal government to deny transgender people’s rights, including in military service, education,

other identification documents, and healthcare. It comes on the heels of similar attacks by various

states—and by the first Trump Administration. And it is the latest in a decades-long line of

governmental actions seeking to further oppress transgender and gender-nonconforming people.

       9.      Plaintiffs are transgender or nonbinary Americans who have been harmed, and will

continue to be harmed, by the Passport Policy. Because of the Passport Policy, as noted, one

plaintiff had her passport returned by the State Department with a male sex designation despite the

fact that she lives and expresses herself as a woman and her other identification documents

correctly have a sex designation of female. Other plaintiffs have submitted their passports for

renewal or to change their passport sex designation, which the State Department will deny under

the Passport Policy. Still others are afraid to do so for fear the State Department will suspend their

application and hold their passport, or will send back an unusable passport with the wrong sex

designation. All have faced prior mistreatment due to their gender identities, and they fear that

having incorrect sex designations on their passports will cause them further mistreatment—

including putting them in danger.

       10.     This suit seeks a declaration that the Passport Policy and Executive Order as applied

to passports are unconstitutional, a declaration that the Passport Policy violates the APA, and a

permanent injunction restoring the status quo ante. Declaratory and injunctive relief are needed to

remedy the many constitutional and statutory violations the Passport Policy inflicts. Relief is

needed on a class-wide basis to prevent class-wide harm to the hundreds of thousands, if not

millions, of transgender, nonbinary, and intersex people in the United States who need a passport

they can use without suffering harm.

                                 JURISDICTION AND VENUE

       11.     This Court has jurisdiction under 28 U.S.C. §§ 1331 (federal question) and 1346

(civil actions against the United States).

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       12.     This Court has jurisdiction to review final agency actions under 5 U.S.C. § 702.

       13.     This Court has further remedial authority under the Declaratory Judgment Act, 28

U.S.C. §§ 2201 et seq.

       14.     Defendants are subject to personal jurisdiction in this Court.

       15.     Venue is proper in this District under 28 U.S.C. §§ 1391(b)(2) and 1391(e)(1).

Defendants are the United States, its agencies, and its officers sued in their official capacities.

Plaintiffs Bella Boe, Sawyer Soe,1 and Reid Solomon-Lane are residents of this District. A

substantial part of the events or omissions giving rise to this Complaint occurred in this District.

                                             PARTIES

       A.      Plaintiffs

       16.     Ashton Orr is a United States citizen and a resident of Morgantown, West Virginia.

       17.     Zaya Perysian is a United States citizen and a resident of Santa Clarita, California.

       18.     Sawyer Soe is a United States citizen and a resident of Salem, Massachusetts.

       19.     Chastain Anderson is a United States citizen and lives near Richmond, Virginia.

       20.     Drew Hall is a United States citizen and a permanent resident of Wisconsin.

       21.     Bella Boe is a United States citizen and a resident of Cambridge, Massachusetts.

       22.     Reid Solomon-Lane is a United States citizen and a resident of North Adams,

Massachusetts.

       B.      Defendants

       23.     Defendant Donald Trump is the President of the United States. He is sued in his

official capacity. By statute, the President has authority to prescribe certain rules for the issuance

of passports. See 22 U.S.C. § 211a.




1
  “Bella Boe” and “Sawyer Soe” are pseudonyms used in this Complaint to refer to two of the
plaintiffs. A motion for leave for them to procced under pseudonyms will be filed shortly with the
Court.

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       24.     Defendant Department of State (the “State Department”) is a federal executive

department responsible for implementing the Executive Order. It is an agency within the meaning

of the APA. See 5 U.S.C. § 551(1).

       25.     Defendant Marco Rubio is the Secretary of State. He is responsible for supervising

and directing the State Department. He is sued in his official capacity. By statute, the Secretary

of State has authority to issue passports under rules prescribed by the president. See 22 U.S.C.

§ 211a. By executive order, the president has delegated the authority to prescribe those rules for

passport issuance to the Secretary of State. See Executive Order 11295, 31 Fed. Reg. 10,603

(Aug. 5, 1966).

       26.     Defendant United States of America is the government of the United States and

includes all government agencies and officials responsible for implementing the Passport Policy

and the Executive Order as applied to passports.

       27.     The State Department and Secretary Rubio are collectively referred to as the

“Agency Defendants.”

                                         ALLEGATIONS

       A.      Gender Identity, Transgender People, Nonbinary People, and Intersex People

               1.      Gender Identity

       28.     “Gender identity” refers to a person’s core, internal sense of belonging to a
particular sex. There is a medical consensus that gender identity is innate and that efforts to change

a person’s gender identity are unethical and harmful to a person’s health and well-being.

       29.     The concept of “sex” refers to multiple physiologic attributes, such as

chromosomes, gonads (glands that produce hormones and gametes), and anatomy (internal and

external reproductive parts), secondary sex characteristics that usually develop during puberty, and

gender identity. “Sex assigned at birth” refers to the designation of sex generally noted on a birth

certificate shortly after birth, almost always based solely on the appearance of an infant’s external




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genitalia. The term “biological sex” is less precise than “sex assigned at birth” because it does not

account, for example, for intersex conditions and gender identity.

       30.     A person’s gender identity is an essential part of their identity and very frequently

predicts how they will be identified by others more accurately than their sex assigned at birth. For

purposes of identity documents, including passports, a person’s gender identity is the most

important and accurate characteristic for determining what their sex is and what their sex

designation should be.

       31.     According to the American Medical Association, the American College of

Physicians, the American Psychiatric Association, and 25 other major U.S. medical and

psychological professional associations, “variations in . . . gender identity are a normal part of

human development” and “research and experience shared by scholars, clinicians, and patients

have shown that . . . efforts [to change someone’s gender identity have not succeeded] and are

harmful.”2

               2.        Transgender People

       32.     Transgender people have a gender identity different from their sex assigned at birth.

According to one set of surveys, more than 1.6 million Americans are transgender. 3

       33.     When a person’s sex assigned at birth and gender identity align, the person is

“cisgender.”




2
  United States Joint Statement Against Conversion Efforts (completed Aug. 23, 2023), available
at            https://d3dkdvqff0zqx.cloudfront.net/groups/apaadvocacy/attachments/USJS-Final-
Version.pdf.
3
 Jody Herman et al., How Many Adults and Youth Identify as Transgender in the United States?,
Williams Institute, UCLA School of Law 1 (2022), https://williamsinstitute.law.ucla.edu/wp-
content/uploads/Trans-Pop-Update-Jun-2022.pdf (last accessed Feb. 6, 2025).

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               3.      Nonbinary People

       34.     “Nonbinary” people have a gender identity that is not exclusively male nor

exclusively female. According to one set of surveys, more than 1.2 million Americans identify as

nonbinary.4

               4.      Intersex People

       35.     “Intersex” is a term used to describe a wide range of natural bodily variations,

which some medical professionals refer to as “differences of sexual development.” Intersex people

are born with sex characteristics that do not fit typical binary notions of bodies designated “male”

or “female.” Intersex variations differ; some intersex traits may be discovered at birth, some may

not be discovered until puberty, and some may never be discovered. For example, intersex people

can have certain variations in chromosomes, external genitals, internal reproductive organs, and

hormone production and response that cause these variations in their bodies. According to

estimates by the United Nations, between 0.05% and 1.7% of the population is born with intersex

traits—meaning there are potentially as many as 5.6 million intersex people in the United States. 5

       36.     During the initial gestation period, embryos with XX chromosomes and embryos

with XY chromosomes appear the same in terms of their biological makeup. Various aspects of

the embryos later typically begin to develop differently depending on whether the embryo has XX

or XY chromosomes. This binary differential development is not always what occurs, however,
and there are many variations in genitals, internal reproductive organs, hormones, and other aspects

of the body that do not align with a strict sex binary.




4
 Bianca D.M. Wilson et al., Nonbinary LGBTQ Adults in the United States, Williams Institute,
UCLA School of Law 2 (June 2021), https://williamsinstitute.law.ucla.edu/wp-
content/uploads/Nonbinary-LGBTQ-Adults-Jun-2021.pdf (last accessed Feb. 6, 2025).
5
   United Nations Free & Equal, “Intersex People,” Office of the United Nations High
Commissioner              for             Human            Rights         1       (2024),
https://www.unfe.org/sites/default/files/download/Intersex%20factsheet%202024%20EN%20-
%20CLEARED.pdf (last accessed Feb. 6, 2025)

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        37.    Some intersex people do not produce either (and some may produce both) the “large

reproductive cell” or “small reproductive cell”—that is, the ovum and sperm—that are at the core

of the definitions of female and male in the Executive Order. Further, some intersex people may

produce either sperm or ovum but have genitalia or chromosomes typically associated with the

different sex (e.g., a person with testes who is assigned female at birth based on genitalia).

        38.    Some intersex people are transgender because their gender identity is different from

the sex they were assigned at birth. Some intersex people, however, were assigned a sex at birth

that is the same as their gender identity, meaning that they are cisgender.

               5.      Gender Dysphoria and Gender-Affirming Care

        39.    Gender dysphoria is a medically recognized condition defined by a marked

incongruence between a person’s gender identity and the sex they were assigned at birth, when

accompanied by clinically significant distress or impairment in social, occupational, or other

important areas of functioning. 6 Many transgender people (including transgender people who are

nonbinary or intersex) experience gender dysphoria. Gender dysphoria is a serious medical

condition that, if left untreated, can lead to debilitating depression and even suicidal ideation and

acts.

        40.    The treatment protocols for gender dysphoria are laid out in established, evidence-

based clinical guidelines: (i) the Endocrine Society Clinical Practice Guideline for Endocrine

Treatment of Gender-Dysphoric/Gender-Incongruent Persons and (ii) the World Professional

Association for Transgender Health (“WPATH”) Standards of Care (“SOC”) for the Health of

Transgender and Gender Diverse People, which was initially published in 1979 and is now in its

eighth version, which was released in 2022. These guidelines are supported by all major U.S.

medical associations and reflect the professional consensus about the psychological, psychiatric,




6
 See, e.g., Am. Psychiatric Ass’n, Diagnostic and Statistical Manual of Mental Disorders: DSM-
5-TR at 512–13 (2022).

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hormonal, and surgical management of gender dysphoria.               These clinical guidelines are

comparable to clinical guidelines used to treat other medical conditions.

       41.     It is the recognized standard of care to address gender dysphoria with social

affirmation as well as medical treatment designed to bring a person’s body and expression of their

sex in line with their gender identity. This course of treatment has different components depending

on the particular needs and age of each person.

       42.     Treatment for gender dysphoria brings a person’s social interactions, appearance,

and body into greater alignment with the person’s gender identity, which helps alleviate distress.

Treatment for gender dysphoria may involve social transition, hormone treatment, and/or gender-

affirming surgery or surgeries.

       43.     Social transition involves shifting one’s presentation and social functioning so that

it is consistent with one’s gender identity. Typically, it involves some or all of the following:

               a. Change in clothing, hair, or appearance;

               b. Change of name;

               c. Change in pronouns (e.g., “she,” “he,” or “they”);

               d. Change in participating in gender-specific activities, events, or spaces; and

               e. Change of the sex designation on identifying documents, including an

                   individual’s driver’s license and passport.

       44.     Treatment for gender dysphoria typically includes living one’s life consistently with

one’s gender identity, including using identity documents that reflect one’s gender identity.

       45.     While social transition is adequate to treat gender dysphoria for some people, others

may need other forms of treatment as well.

       46.     Hormone treatment is used to help a person develop secondary sex characteristics

consistent with their gender identity, which may affect how the person receiving such treatment

physically presents and is perceived by others.




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       47.      Gender-affirming surgeries may include a wide variety of surgeries, many of which

also affect how the person undergoing surgery physically presents and is perceived by others, such

as augmentation mammoplasty, chest reconstruction surgery, and facial feminization surgery.

                6.       Violence and Discrimination Against and Harassment and Mistreatment of
                         Transgender, Nonbinary, and Intersex People

       48.      Transgender, nonbinary, and intersex people often experience violence, harassment,

discrimination, and social stigma when others learn that they are transgender, nonbinary, or

intersex.

       49.      For decades, transgender, nonbinary, and intersex people have been subject to

numerous and varied attempts by both private individuals and government actors to discriminate

against and oppress them, and to attempt to erase their existence.

       50.      Transgender people are more likely to suffer harassment, discrimination, and

violence than the population at large. According to the National Center for Transgender Equality’s

U.S. Transgender Survey:

                a. Around a quarter (24%) of respondents had been physically attacked in a K-12

                     school because people thought they were transgender.

                b. In the year prior to completing the survey, 27% of respondents who had a job

                     reported being fired, denied a promotion, or experiencing some other form of

                     mistreatment in the workplace due to their gender identity or presentation.

                c. Nearly half (47%) of respondents had been sexually assaulted during their

                     lifetime.

                d. Among respondents who had interacted with police, 58% of those whom the

                     police perceived as transgender experienced some form of mistreatment.

                e. Twenty-five percent of transgender people were verbally harassed, 16% denied

                     services or benefits, 9% asked to leave a location or establishment, and 2%

                     assaulted or attacked after showing identification with a name or sex

                     designation that did not match their gender presentation.

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       51.      For transgender people of color, these forms of mistreatment are even more

common.

       52.      As a result of these forms of mistreatment, 39% of respondents experienced serious

psychological distress in the month prior to completing the survey, compared with only 5% of the

U.S. population as a whole. Moreover, 40% percent of respondents attempted suicide in their

lifetime—nearly nine times the attempted suicide rate in the U.S. population as a whole (4.6%).

       53.      Nonbinary people are also subject to violence and discrimination, and many of the

statistics regarding violence against transgender people include nonbinary people. 7

       54.      Intersex people also are more likely to suffer violence, discrimination, harassment,

and mistreatment. For instance, surveys indicate that anywhere from one quarter to half of intersex

people had been subjected to violence.8

       B.       The Importance of Passports Consistent with the Sex a Person Lives As

       55.      A passport is an essential government-issued document that individuals use for

various important purposes throughout their lifetime.

       56.      Passports are necessary for travel outside of the country and for reentry into the

United States. See 8 U.S.C. § 1185(b). Foreign countries generally bar entrance by U.S. citizens

without a valid U.S. passport and/or condition issuance of a necessary visa on holding a valid U.S.

passport.




7
   See, e.g., Human Rights Campaign Foundation, The Epidemic of Violence Against the
Transgender & Gender-Expansive Community in the U.S.: The 2024 Report (Nov. 2024),
https://reports.hrc.org/an-epidemic-of-violence-2024 (last accessed Feb. 6, 2025); Skylar
Davidson, Gender inequality: Nonbinary transgender people in the workplace, Cogent Social
Sciences (2016).
8
  The Trevor Project, The Mental Health and Well-being of LGBTQ Youth who are Intersex at 4
(2021),    https://www.thetrevorproject.org/wp-content/uploads/2021/12/Intersex-Youth-Mental-
Health-Report.pdf (last accessed Feb. 6, 2025); ILGA-Europe and OII Europe, Diving Into the
FRA LGBTI           II   Survey      Data:    Intersex    Briefing      (2023),   https://www.ilga-
europe.org/report/intersections-intersex-diving-into-the-fra-lgbti-ii-survey-data/ (last accessed
Feb. 6, 2025).

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        57.     When traveling or living abroad, U.S. passports often are necessary for numerous

purposes and often are the only form of identification carried by a U.S. citizen that is recognized

or acknowledged by foreign authorities or private citizens. A passport often is needed in other

countries to check in to a hotel, to use a bank, to receive medical services and for many other

purposes.

        58.     If there is an emergency while abroad, passports are the primary way for a U.S.

citizen to identify themself to U.S. officials, such as those at an embassy or consulate.

        59.     Passports can also be useful or necessary for travel within the United States. If a

person does not have another valid form of identification, they generally cannot board a plane.

Under the REAL ID Act, certain state identification documents will no longer be able to be used

for domestic travel when the Act comes into effect on May 7, 2025.

        60.     Passports are used in a wide variety of contexts as identification documents, such

as determining eligibility for employment, enrolling in government programs, and engaging in a

wide range of financial transactions. Passports are also used to obtain other important forms of

identification and can be used as an “identification of last resort” due to their widespread

acceptance and the weight accorded a federal government document. For instance, passports can

often be used to obtain driver’s licenses, as proof of age, as proof of citizenship, and for educational

registration.

        61.     Forcing transgender, nonbinary, and intersex people to carry and use identity

documents that do not align with the sex they live and present themselves as, or denying them

necessary identity documents, is inconsistent with protocols regarding social transition. It can

cause anxiety and distress to individuals who are transgender and result in discrimination and

violence against them. Additionally, for those who have struggled for years with the impact of

external invalidation of their identity, the knowledge that their identification documents label them

with a sex different from the sex they live as can, by itself, cause serious psychological injury.

        62.     Recognizing the importance of identification documents, the American Medical

Association “supports every individual’s right to determine their gender identity and sex

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designation on government documents” and urges that governments “allow for a sex designation

or change of designation on all government IDs to reflect an individual’s gender identity, as

reported by the individual and without need for verification by a medical professional.” 9

        63.     Forcing transgender people to carry and present identification that lists their sex as

defined by the Executive Order can out them to officials and private citizen strangers as

transgender, a profoundly private piece of information in which they have a reasonable expectation

of privacy. Such a policy deprives transgender people of significant control over the circumstances

surrounding disclosure of their transgender identity, including when, where, how, and to whom

their identity is disclosed.

        64.     The Passport Policy also harms intersex people who are not transgender and who

want an “M” or “F” sex designation on their passport. If, for example, someone who is intersex

lives their life as a woman and presents to others as a woman and therefore wants an “F” on their

passport, but the Passport Policy would require them to have an “M” on their passport, that will

wrongly suggest that they are transgender or will out them as being intersex. Their being intersex

is a profoundly private piece of information in which they have a reasonable expectation of privacy.

The Passport Policy therefore deprives them of significant control over the circumstances

surrounding disclosure of the fact that they are intersex, including when, where, how, and to whom

their identity is disclosed.

        65.     The Passport Policy also harms nonbinary people who are not transgender and who

want an “M” or “F” sex designation that is inconsistent with how the Executive Order defines their

sex. Someone who meets the Executive Order’s definition of male but who is nonbinary and lives

their life and presents as a woman and wants an F on their passport will have it disclosed against

their will that they meet the Executive Order’s definition of male. That is a profoundly private

piece of information in which they have a reasonable expectation of privacy. The Passport Policy

9
 Conforming Sex and Gender Designation on Government IDs and Other Documents H-65.967,
Am.              Med.             Ass’n        (2021),          https://policysearch.ama-
assn.org/policyfinder/detail/gender?uri=%2FAMADoc%2FHOD.xml-0-5096.xml (last accessed
Feb. 6, 2025).

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therefore deprives them of significant control over the circumstances surrounding disclosure of the

fact that they fall within the Executive Order’s definition of male, including when, where, how,

and to whom that is disclosed.

        66.    Further, requiring people who want an “X” sex designation on their passport to

instead have an “M” or “F” designation forces them to disclose whether they meet the Executive

Order’s definition male or female. That is a profoundly private piece of information in which they

have a reasonable expectation of privacy. Such a policy deprives these people of control over the

circumstances surrounding disclosure of that information, including when, where, how, and to

whom that information is disclosed.

        67.    Disclosure that someone is transgender, nonbinary, or intersex when they do not

want that information disclosed subjects that person to harm, including an invasion of privacy. It

also subjects them to significant risks of discrimination and harassment in a variety of settings,

including employment, travel, financial transactions, and in interactions with government

employees, including, but not limited to, law enforcement personnel.            Disclosure of that

information can seriously jeopardize a person’s safety and subject the person to risk of bodily

harm.

        68.    In other countries and in the United States, violence, harassment, and other

mistreatment of transgender, nonbinary, and intersex people is common and/or accepted, including

at the hands of government officials. If a transgender, nonbinary, or intersex person’s passport

displays a different sex designation on their passport than the person’s gender identity and/or

presentation, that mismatch could cause officials to question whether the person’s passport is valid

and interfere with their ability to travel. It could also disclose that the person is transgender,

nonbinary, or intersex to foreign officials and private citizens against the person’s will. In turn,

that disclosure could result in violence, harassment, arrest, imprisonment, and other mistreatment




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of the person. According to reports, hundreds of transgender people were killed around the world

in 2023, and similar figures exist for prior years.10

       69.     Having a sex designation on a passport that involuntarily discloses someone is

transgender, nonbinary, or intersex can also cause harassment and discrimination while traveling

within the United States.

       C.      The Passport Application and Issuance Process

       70.     A U.S. passport is a travel document issued under the authority of the State

Department attesting to the identity and nationality of the bearer. As noted, to travel out of or into
the country, a U.S. citizen must carry a U.S. passport. See 8 U.S.C. § 1185. 11
       71.     Before a U.S. passport can be issued, the applicant “shall subscribe to and submit a

written application which shall contain a true recital of each and every matter of fact which may

be required by law or by any rules authorized by law to be stated as a prerequisite to the issuance

of any such passport.” 22 U.S.C. § 213. A passport application must be signed under penalty of

perjury. It is a criminal offense to willfully and knowingly make false statements in a passport

application with intent to induce or secure issuance of a passport. See 18 U.S.C. § 1542.

       72.     A U.S. citizen applying for a passport for the first time must submit an Application

for a U.S. Passport (DS-11). A U.S. citizen applying for a renewal of an existing passport must

submit a Renewal Application (DS-82). Citizens can also submit a form to make corrections or

name changes, including, until the Passport Policy prevented it, changes in the sex designation on

one’s passport (the DS-5504).

       73.     The DS-11 contains various fields, including for “Sex.” “M” in this field indicates

male and “F” indicates female.

10
   See Jamie Wareham, Beaten, Stabbed and Shot: 320 Trans People Killed in 2023 - New
Monitoring           Report,            Forbes         (Nov.           13,           2023),
https://www.forbes.com/sites/jamiewareham/2023/11/13/beaten-stabbed-and-shot-320-trans-
people-murdered-in-2023 (last accessed Jan. 30, 2025).
11
 Certain people who are not U.S. citizens may also utilize U.S. passports, such as residents of
American Samoa.

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       74.     From 2010 until 2021, including throughout the first Trump Administration, the

State Department permitted individuals to apply to change the sex designation on their passport

with certification of a physician that they were being treated for a gender transition.

       75.     Starting in 2021, the State Department permitted individuals to change the sex

designation on their passport without a physician’s certification.

       76.     In 2021, the State Department announced it would permit individuals to select an

“X” sex designation on their passport, which the State Department form described as denoting

“unspecified or another gender identity.” This designation generally signifies that the bearer does

not identify as male or female, identifies as both, or does not wish to specify their sex. It is

important to many transgender, intersex, and nonbinary people to have an “X” sex designation on

their passport because that is most consistent with how the identify and/or present themselves or

for privacy reasons, since a person reviewing a passport with an “X” sex designation will not know

why the individual has an “X” sex designation.

       77.     A United Nations agency, the International Civil Aviation Organization (“ICAO”),

sets international standards for air transport, including for travel documents. ICAO specifications

for machine-readable travel documents have for decades required passports to display the “[s]ex

of the holder, to be specified by . . . the capital letter ‘F’ for female, ‘M’ for male, or ‘X’ for

unspecified.” 12

       78.     Numerous other countries permit individuals to select the sex designation on their

passport most appropriate for themself, including Australia, Denmark, Argentina, Greece, Brazil,

Norway, Portugal, Ireland, and others. Many other countries also permit “X” designation on their

passports, including Germany, Pakistan, Taiwan, Austria, Canada, Columbia, and many of the

countries that permit self-selection of designation.




12
  Doc 9303, Machine Readable Travel Documents, International Civil Aviation Organization at
IV-14 (8th ed. 2021), https://www.icao.int/publications/documents/9303_p4_cons_en.pdf (last
accessed Feb. 6, 2025).

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       D.      The Executive Order

       79.     Donald J. Trump was inaugurated for the second time as President of the United

States on January 20, 2025.

       80.     That same day, President Trump signed the Executive Order, purporting to rely

solely on 5 U.S.C. § 7301, which generally permits the President to issue regulations for employee

conduct in the Executive Branch.

       81.     The Executive Order states in its “Purpose” section that it is targeted against those

it calls “ideologues who deny the biological reality of sex [who] have increasingly used legal and

other socially coercive means to permit men to self-identify as women and gain access to intimate
single-sex spaces and activities designed for women, from women’s domestic abuse shelters to

women’s workplace showers.” Executive Order § 1. It declares that transgender people simply

existing—or in its words, “[e]fforts to eradicate the biological reality of sex”—“fundamentally

attack women by depriving them of their dignity, safety, and well-being.” Id. It claims that “[t]his

unhealthy road is paved by an ongoing and purposeful attack against the ordinary and longstanding

use and understanding of biological and scientific terms, replacing the immutable biological reality

of sex with an internal, fluid, and subjective sense of self unmoored from biological facts.” Id.

And it calls gender identity an “inchoate social concept.” Id.

       82.     The Executive Order explicitly references transgender people by suggesting that

the government can prevent people from obtaining legal rights if they “self-identify” as a sex

different from their sex assigned at birth—that is the definition of being transgender.

       83.     The Executive Order attempts to invalidate the existence of transgender, intersex,

and nonbinary people by wrongly proclaiming that there are only two sexes, definable and binary

at conception. Despite the order’s insistence that it is communicating “biological truth,” it is in

fact inconsistent with science.

       84.     To accomplish the Trump Administration’s apparent goal of ending all legal

recognition of and protections for transgender, nonbinary, and intersex people, the Executive Order

states that “[i]t is the policy of the United States to recognize two sexes, male and female. These

                                                18
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sexes are not changeable and are grounded in fundamental and incontrovertible reality.” Id. § 2.

It declares that the “Executive Branch will enforce all sex-protective laws to promote this reality,

and the following definitions shall govern all Executive interpretation of and application of Federal

law and administration policy.” Id. Among the definitions are:

               a. “Sex” shall refer to an individual’s immutable biological classification as either

                   male or female. “Sex” is not a synonym for and does not include the concept

                   of “gender identity.”

               b. “Women” or “woman” and “girls” or “girl” shall mean adult and juvenile

                   human females, respectively.

               c. “Men” or “man” and “boys” or “boy” shall mean adult and juvenile human

                   males, respectively.

               d. “Female” means a person belonging, at conception, to the sex that produces the

                   large reproductive cell.

               e. “Male” means a person belonging, at conception, to the sex that produces the

                   small reproductive cell.

               f. “Gender ideology” replaces the biological category of sex with an ever-shifting

                   concept of self-assessed gender identity, permitting the false claim that males

                   can identify as and thus become women and vice versa, and requiring all

                   institutions of society to regard this false claim as true. Gender ideology

                   includes the idea that there is a vast spectrum of genders that are disconnected

                   from one’s sex. Gender ideology is internally inconsistent, in that it diminishes

                   sex as an identifiable or useful category but nevertheless maintains that it is

                   possible for a person to be born in the wrong sexed body.

               g. “Gender identity” reflects a fully internal and subjective sense of self,

                   disconnected from biological reality and sex and existing on an infinite

                   continuum, that does not provide a meaningful basis for identification and

                   cannot be recognized as a replacement for sex.

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       85.      The Executive Order directs the Secretary of State, as well as the Secretary of

Homeland Security and Director of the Office of Personnel Management, to “implement changes

to require that government-issued identification documents, including passports, visas, and Global

Entry cards, accurately reflect the holder’s sex, as defined under section 2 of this order.” Id. § 3(d).

       86.      The Executive Order requires that, “[w]ithin 30 days of the date of this order, the

Secretary of Health and Human Services shall provide to the U.S. Government, external partners,

and the public clear guidance expanding on the sex-based definitions set forth in this order.” Id.

§ 3(a). It requires that all federal agencies and employees “enforce laws governing sex-based

rights, protections, opportunities, and accommodations to protect men and women as biologically

distinct sexes.” Id. § 3(b).

       87.      The Executive Order also requires that all agencies “remove all statements, policies,

regulations, forms, communications, or other internal and external messages that promote or

otherwise inculcate gender ideology, and shall cease issuing such statements, policies, regulations,

forms, communications or other messages” and that agencies’ “forms that require an individual’s

sex shall list male or female, and shall not request gender identity.” Id. § 3(e).

       88.      The Executive Order imposes various other rules related to gender, including with

respect to federal employees’ records, interpretation of various federal laws, recission of various

agency policies, and proposals for legislation on the topic. See id. §§ 3–7.

       E.       The State Department Implements the Executive Order Through the
                Passport Policy

       89.      On January 23, 2025, news outlets began reporting that Secretary Rubio had

directed the State Department to implement the Executive Order as applied to passports. 13 In
particular, Secretary Rubio instructed in an internal State Department cable that “[t]he policy of

the United States is that an individual’s sex is not changeable” and that “sex, and not gender, shall


13
  See Joseph Gedeon, Rubio Instructs Staff To Freeze Passport Applications with ‘X’ Sex Markers,
Guardian (Jan. 23, 2025), https://www.theguardian.com/us-news/2025/jan/23/trump-rubio-x-
gender-passport (last accessed Feb. 6, 2025).

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be used” on passports. 14 As a result, State Department staff were ordered to “suspend any

application where the applicant is seeking to change their sex marker” and “suspend any

application requesting an ‘X’ sex marker.”15

           90.   Since then, numerous other news outlets have reported on this directive, including

that it was made explicitly to implement the Executive Order. 16

           91.   The State Department has not published any public notices or other guidance on

this change.

           92.   As of February 7, 2025, the DS-11 (initial application) available online does not

permit users to select an “X” in the Sex field. 17 It includes only two boxes that can be checked,
for “M” and “F.” The online fillable form that populates the Application likewise permits selecting

only “M” or “F” in the Sex field and provides no “X” option. The posted DS-11 states that it has

an expiration date of December 31, 2023, implying that the State Department has replaced the

currently-approved version of the form with an older version. The same is now true of the DS-82




14
     Id.
15
     Id.
16
  See, e.g., Jo Yurcaba et al., State Department To Suspend Passport Applications Seeking Sex-
Marker Changes, NBC News (Jan. 24, 2025), https://www.nbcnews.com/nbc-out/out-politics-
and-policy/rubio-passport-sex-marker-changes-paused-trump-order-rcna189222 (last accessed
Feb. 6, 2025); Shannon K. Kingston et al., State Department Halts ‘X’ Passport Gender Marker
Applications, ABC News (Jan. 24, 2025), https://abcnews.go.com/US/state-department-halts-
passport-gender-marker-applications/story?id=118062178 (Jan. 30, 2025) (last accessed Feb. 6,
2025).
17
  See U.S. Department of State, Application for a U.S. Passport, OMB Control No. 1405-0004
(exp. Dec. 31, 2023), https://travel.state.gov/content/dam/passports/forms-fees/DS-11%20(12-31-
2023)%20revision%20date%2012-2020.pdf (last accessed Feb. 7, 2025).

                                                 21
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(renewal form) and DS-5504 (corrections and name changes), which include only “M” and “F”

and have expiration dates of March 31, 2023 and November 30, 2022.18, 19

       93.     Prior to changing the forms DS-11, DS-82, and DS-5504, the State Department did

not issue a 60-day notice of its intent to make any changes to such forms, depriving the public of

the opportunity to comment on such changes.

       94.     The State Department has also removed references to transgender individuals from

its public webpages. For instance, the webpage previously entitled “LGBTQI+ Travelers” has

been retitled “LGB” travelers and removed travel information related to transgender people.20 The

Transportation Security Administration (“TSA”) previously had webpages discussing screening

procedures for transgender people and whether nonbinary individuals could apply for TSA




18
  See U.S. Department of State, U.S. Passport Renewal Application for Eligible Individuals, OMB
Control No. 1405-0020 (exp. Mar. 31, 2023), https://travel.state.gov/content/dam/passports/forms-
fees/DS-82%20(3-31-2023)%20revised%203-2020.pdf (last accessed Feb. 7, 2025); U.S.
Department of State, Application for a U.S. Passport for Eligible Individuals, Correction, Name
Change to Passport Issued 1 Year Ago or Less, and Limited Passport Replacement, OMB Control
No. 1405-0160 (exp. Nov. 30, 2022), https://travel.state.gov/content/dam/passports/forms-
fees/DS-5504-%202021.pdf (last accessed Feb. 7, 2025).
19
   The State Department has also, according to public reports, begun implementing the Executive
Order in other ways, such as with a direction from the Acting Undersecretary for Management that
all employees remove gender pronouns from their email signatures. See Carla K. Johnson, Health
info wiped from federal websites following Trump order targeting transgender rights, PBS (Jan.
31,    2025),    https://www.pbs.org/newshour/health/health-info-wiped-from-federal-websites-
following-trump-order-targeting-transgender-rights (last accessed Feb. 6, 2025).
20
    Compare U.S. Department of State, Bureau of Consular Affairs, LGB Travelers,
https://travel.state.gov/content/travel/en/international-travel/before-you-go/travelers-with-
special-considerations/lgb.html (last accessed Feb. 6, 2025), with Michael K. Lavers, Transgender
people removed from State Department travel page, Washington Blade (Jan. 31, 2025),
https://www.washingtonblade.com/2025/01/31/transgender-people-removed-from-state-
department-travel-page/ (reporting on prior version of webpage).

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PreCheck. 21 Those pages appear to no longer be online, but they have been captured by web

archives and still appear in indexed search results as of January 30, 2025. 22

         95.      The State Department Foreign Affairs Manual (the “FAM”) previously recognized

that there were individuals that “do[] not fit typical definitions of male or female,” 23 but, although

the FAM generally is available online, that section of the FAM is no longer accessible. 24

         96.      The Passport Policy includes at least (a) issuing new passports, renewing existing

passports, and making changes to existing passports to comply with the Executive Order’s

definitions of male and female, including no longer issuing “X” designations on passports, and (b)

refusing to grant or suspending processing of applications to issue new passports, renewed

passports, and changes to passports that would not comply with the Executive Order’s definitions

of male and female, including no longer granting applications for “X” designations on passports.

         F.       President Trump and His Administration’s Longstanding Animus Against
                  Transgender People

         97.      On its face, the Executive Order reflects animus against transgender people, as does

the broader context in which it was adopted.




21
   See, e.g., “What Are the Screening Procedures for Transgender Persons?,” Frequently Asked
Questions, Transp. Sec. Admin., https://www.tsa.gov/travel/frequently-asked-questions/what-are-
screening-procedures-for-transgender-persons (not accessible as of Jan. 30, 2025); “Can I Apply
for TSA Precheck® with a Nonbinary Gender and Gender Non-conforming Identity Document on
the TSA Precheck Application?,” Frequently Asked Questions, Transp. Sec. Admin.,
https://www.tsa.gov/travel/frequently-asked-questions/can-i-apply-for-tsa-precheckr-nonbinary-
gender-and-gender-non (not accessible as of Jan. 30, 2025).
22
        See,     e.g.,    Frequently     Asked      Questions,     Transp.     Sec.     Admin.,
https://www.tsa.gov/travel/frequently-asked-questions (Jan. 17, 2025 22:19:17 GMT)
[https://web.archive.org/web/20250117221917/https://www.tsa.gov/travel/frequently-asked-
questions] (last accessed Feb. 6, 2025) (WebArchive version as of January 17 providing guidance
to transgender and nonbinary people that has since been removed).
23
     See 7 Foreign Affairs Manual, 1350 Appendix M (as of 2015).
24
  See 7 Foreign Affairs Manual, https://fam.state.gov/Volumes/Details/07FAM (1300s section is
inactive).

                                                   23
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       98.     For instance, President Trump has referred to transgender identities as “transgender

insanity” 25 and has repeatedly referred to transgender people using derogatory labels, describing

them as “deranged,” “sick,” and drug users.26

       99.     In just his first two weeks in office, President Trump has issued a series of orders

targeting transgender people.27

       100.    He issued an executive order stating that being transgender while serving in the

military “conflicts with a soldier’s commitment to an honorable, truthful, and disciplined lifestyle,

even in one’s personal life.” 28 He issued another executive order referring to women who are

transgender as “men” and calling their participation in women’s sports “demeaning, unfair, and

dangerous,” asserting that it “results in the endangerment, humiliation, and silencing of women.”29
He issued yet another executive order falsely referring to medical treatment of transgender

adolescents supported by evidence-based research and by every major professional health




25
   Bill Barrow, Trump and Vance Make Anti-Transgender Attacks Central to Their Closing
Argument          Before      Election       Day,         PBS         (Nov.   1,      2024),
https://www.pbs.org/newshour/politics/trump-and-vance-make-anti-transgender-attacks-central-
to-their-closing-argument-before-election-day (last accessed Feb. 6, 2025).
26
  See Fact Sheet: Donald Trump on LGTBQ Issues: Transgender Americans, GLAAD (Aug. 20,
2024), https://glaad.org/fact-sheet-trump-transgender (last accessed Feb. 6, 2025).
27
  In addition to the Executive Order and the orders discussed in the remainder of this section of
the Complaint, other executive orders include: Exec. Order 14,148, Initial Rescissions of Harmful
Executive Orders and Actions, 90 Fed. Reg. 8237 (Jan. 20, 2025) (rescinding Biden Administration
executive orders protecting transgender people); Exec. Order 14,170, Reforming the Federal
Hiring Process and Restoring Merit to Government Service, 90 Fed. Reg. 8621 (Jan. 20, 2025)
(prohibiting governmental employers from considering gender identity in hiring); Exec. Order
14,190, Ending Radical Indoctrination in K-12 Schooling, 90 Fed. Reg. 8853 (Jan. 29, 2025)
(prohibiting teaching of transgender-related topics in schools).
28
  Exec. Order 14183, Prioritizing Military Excellence and Readiness, 90 Fed. Reg. 8757 § 1 (Jan.
27, 2025).
29
  Keeping Men Out of Women’s Sports (Feb. 5, 2025) (number and Federal Register entry not yet
assigned) (available at https://www.whitehouse.gov/presidential-actions/2025/02/keeping-men-
out-of-womens-sports/).

                                                 24
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association in the country as “chemical and surgical mutilation” and said that such treatment “will

be a stain on our Nation’s history.”30

        101.    President Trump has referred to those who support transgender rights as “pushing

the transgender cult.”31

        102.    Secretary Rubio, who is tasked with implementing the Executive Order as applied

to passports and overseeing the Passport Policy, has referred to the existence of transgender people

as “a harmful ideology” and stated that being transgender is “not real.” 32

        103.    The Executive Order is deeply rooted in this same animus.

        104.    As noted above, the Executive Order refers to transgender people as “ideologues

who deny the biological reality of sex.” Executive Order § 1. It inaccurately and offensively states

that transgender people live as their true gender to “gain access to intimate single-sex spaces,”

with the implication that they do so for nefarious reasons, and to “depriv[e] [women] of their

dignity, safety, and well-being.” Id. It says that merely existing as a transgender person is to

“attack women.” Id.

        G.      Harm to Plaintiffs

                1.      Ashton Orr

        105.    Ashton uses the pronouns “he” or “they.” Ashton has lived in West Virginia his

entire life and is thirty-five years old.
        106.    Ashton is the Press Relations Manager for a national LGBTQ+ organization,

advocating for transgender rights and equality.


30
  Exec. Order 14187, Protecting Children from Chemical and Surgical Mutilation, 90 Fed. Reg.
8771, title and § 1 (Jan. 28, 2025).
31
  See Fact Sheet: Donald Trump on LGTBQ Issues: Transgender Americans, GLAAD (Aug. 20,
2024), https://glaad.org/fact-sheet-trump-transgender (last accessed Feb. 6, 2025).
32
  Ken Scheck, JD Vance Adds to Anti-LGBTQ+ Track Record with Census Letter, Buckeye Flame
(Nov. 13, 2023), https://thebuckeyeflame.com/2023/11/13/jd-vance-adds-to-anti-lgbtq-track-
record-with-census-letter (last accessed Feb. 6, 2025) (letter co-written by then-Senator JD Vance
and then-Senator Rubio).

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       107.    Ashton is a transgender man. His sex assigned at birth was female, but he has a

male gender identity.

       108.    He was diagnosed with gender dysphoria in 2015, when he was twenty-five years

old.

       109.    Ashton has lived as a male in all aspects of his life since 2020. He is known only

as a man to his family, his workplace, and in his community in West Virginia. It has not always

been easy for Ashton to be himself in public spaces, and he has experienced significant

discrimination and harassment as a result of being open about his transgender identity. Having

accurate identification documents helps Ashton navigate this world safely, as he is perceived as

male by those who see him, and a male sex designation affirms his gender identity.

       110.    Ashton was able to update his West Virginia driver’s license in 2023 and his Social

Security Administration record in 2024 to reflect an accurate name and male sex designation. He

typically travels by plane with multiple forms of identification in case he misplaces or loses either

his passport or his driver’s license. However, this has recently presented issues for Ashton, as the

information on his passport does not match his updated and accurate driver’s license.

       111.    For example, in early January 2025, Ashton flew from West Virginia to New York

City. Because his REAL ID has a male sex designation, and his passport had a female sex

designation, he was flagged by the TSA and accused of presenting a fake identification document.

When TSA screened his REAL ID, they claimed it didn’t match the documents they had on record

for him. He offered his passport to confirm his identity, and TSA accused him of presenting a fake

identity document. They repeatedly scanned his ID and took his photo multiple times before

pulling him aside for further questioning. It wasn’t until Ashton was forced to explain in detail

that he is a transgender man that they finally allowed him through.

       112.     This experience prompted Ashton to take steps to update his passport.

       113.    On January 16, 2025, Ashton sent his passport, renewal application, birth

certificate, and marriage license to apply for an updated passport with an accurate sex designation

of male and paid for expedited shipping and servicing given that he had imminent travel plans. He

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was informed that his application arrived on January 18 and began processing on January 22. The

passport that Ashton sent with his application had a female sex designation, and his application

requested an updated name and sex designation. To date, Aston has not received his passport.

       114.    Most urgently, Ashton needs to travel to Ireland in March of 2025. He is traveling

for a medical purpose and is terrified that he will not be able to keep his medical appointment

without an accurate passport, delaying his ability to access medical care.

       115.    Ashton is terrified that having an inaccurate sex designation on his passport will

cause TSA agents, border officials, or airline staff to single him out for invasive questioning,

scrutiny, or mistreatment. Ashton’s past experiences of having his identity challenged, his passport

refused, and being subjected to additional security screenings have led to extremely uncomfortable

circumstances for him. Not having a passport with a sex designation of male could cause travel

delays, missed flights, or even denial of entry to certain countries. Being forced to explain

discrepancies in his documentation could out him as transgender in unsafe situations.

       116.    Ashton is devastated that his country is trying to erase his identity and remove his

ability to access accurate identification documents. Without an accurate passport, he will not feel

safe traveling outside of the United States for any reason, let alone to make his medical

appointment in March.

               2.      Zaya Perysian

       117.    Zaya Perysian is twenty-two years old and uses the pronouns “she” and “her.” Zaya

has lived in California since October of 2023, when she moved from New Jersey. Zaya was born

in Michigan and left when she was twenty years old.

       118.    Zaya is a transgender woman. Her sex assigned at birth was male, but she has a

female gender identity.

       119.    Zaya was diagnosed with gender dysphoria in 2020.

       120.    Zaya has lived as a female in all aspects of her life since 2020, and she has been

known since then only as female to her family, friends, her community in California, and her social


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media followers online. Today, she feels more like herself than ever. It has been a long road for

Zaya to feel safe and authentic in her body, and she is grateful to be living her truth in all aspects

of her life.

        121.   Zaya is a social media content creator, and her content focuses mainly on her life

as a proud transgender woman. She has documented her transition journey and has been able to

connect with a community of LGBTQ+ individuals across the globe. Zaya’s content has also

allowed her to connect with millions of people who are not LGBTQ+ and she has helped educate

them on what it means to be transgender in today’s society.

        122.   Having accurate identification is extremely important to Zaya’s safety and her

ability to navigate the world. During the first few years after coming out as transgender, before

her identification documents were updated, Zaya faced significant harassment and was often put

in uncomfortable situations while traveling. She was subjected to intolerant gazes when airport

personnel viewed her identification with an inaccurate, male sex designation but observed her

female gender expression. She has been patted down by TSA agents expressing their interest in

confirming her sex, and she has had agents say that she was the “prettiest boy” they had ever seen.

It was devastating for Zaya to endure experiences like this, and it wasn’t until she was able to

update her driver’s license that these occurrences became less frequent.

        123.   Zaya updated her Michigan driver’s license to her accurate female sex designation

in June of 2021 and her accurate name in February of 2022. She is in the process of getting a

California driver’s license, which will also reflect her accurate name and female sex designation.

In addition, Zaya has been able to update her sex designation with the Social Security

Administration. Because the passport she had in her possession had an inaccurate male sex

designation, she knew that she needed to update her passport to be able to travel for work

opportunities abroad. Zaya was filled with anxiety when she learned about the Executive Order.

        124.   Zaya had planned to travel outside of the United States in early February 2025 and

submitted an expedited application to update the sex designation on her passport to female on

January 23, 2025.

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          125.   On January 24, Zaya received notice via email that her passport application was

being processed. On January 28, her passport was returned to her through the mail with a notice

stating: “the date of birth, place of birth, name, or sex was corrected on your passport application,”

with “sex” circled in red. The stated reason was “to match our records.”

          126.   Angered, Zaya posted about the incident on her social media. A representative from

CNN who heard about Zaya’s situation called the State Department on her behalf to understand

why this occurred, and the representative was told that the sex designation on Zaya’s passport must

be male in accordance with the Passport Policy. Zaya’s passport now has a male sex designation,

and the new expiration date is January 24, 2035. Unless Zaya is issued a correction, she will

effectively have an unusable passport and will be unable to leave the country safely or comfortably

for at least ten years. Zaya is perceived as female by those who see her, and using this passport

will out her as transgender to people who would not otherwise have known.

          127.   This is particularly harmful to Zaya because she has been invited to many

opportunities to connect and collaborate with other influencers abroad. Without accurate

identification, she will not be able to engage in income-generating opportunities outside of the

United States.

          128.   Zaya cannot practically travel with her current passport that does not reflect who

she is. If Zaya were to present the current passport with a male sex designation, it could cause

problems while interacting with TSA agents and other officers. She is even more afraid of

encounters with officers in countries outside of the United States, where her passport may be the

only identity document that would be accepted or recognized by officials, and where there is

significant hostility towards the transgender community.

          129.   Zaya is devastated that her government would target her community with a policy

that takes away her and other members of that community’s ability to move around the world

safely.




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               3.     Sawyer Soe

       130.    Sawyer Soe is thirty-five years old and primarily uses the pronouns “they” and

“them.”

       131.    Sawyer works for a company that is a leader in video game development. Sawyer

designs games and leads a creative team. They love what they do for work, as it allows them to

express themselves creatively and build experiences that engage people of all ages. Sawyer’s

company has a global presence, with colleagues in the United States, Canada, South America, and

Europe.

       132.    Sawyer is a nonbinary person. Their sex assigned at birth was female, but they do

not identify with a binary sex. The term “nonbinary” accurately captures their identity.

       133.    Sawyer has lived as a nonbinary person in all aspects of their life since 2019. They

have always known their gender identity to some degree, as they are naturally an androgynous

person and that is typically how others perceive them. Today, Sawyer is fully themselves at work

and among friends and family.

       134.    Sawyer was able to obtain a Massachusetts driver’s license with an “X” sex

designation in July of 2023, and this has allowed them to navigate travel and daily interactions

safely and comfortably. Having an “X” sex designation on their identity documents allows them

to escape the arbitrary enforcement of an identity projected on them solely based on their sex

assigned at birth. The “X” designation provides Sawyer with freedom and privacy that allows

them to exist in a way that is free of a label that they did not choose for themselves and that is

inconsistent with how they live.

       135.    Sawyer has not been able to update their United States passport, which expired in

2019, in a similar manner. This was not something Sawyer sought to do during the earlier days of

the COVID-19 pandemic that occurred soon after the passport’s expiration because Sawyer did

not travel then. Recently, Sawyer has begun traveling more. Sawyer’s design team at work is

planning an on-site collaboration with their colleagues in Canada, and Sawyer will be required to



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travel internationally to Canada within the next three months, and potentially several more times

in the coming year.

       136.    Sawyer would feel safer if they had an “X” sex designation on their passport

because it would be consistent with their identity, it would protect their privacy as it would prevent

disclosure of their sex assigned at birth to strangers, and it would match the other identity

documents that they currently carry. Due to the Passport Policy, Sawyer will no longer be able to

obtain an “X” sex designation on their passport that accurately reflects who they are, how they

express their identity, and how others perceive them.

               4.      Chastain Anderson

       137.    Chastain Anderson has lived in the Richmond area since 2018, when she moved

from Louisiana. Chastain uses the pronouns “she” or “they.”

       138.    Chastain holds a Ph.D. in Molecular and Cell Biology and is a board-certified

toxicologist. She works as a Principal Scientist with a global consumer product company, where

she has been employed for six years. Chastain loves her job, and she loves working in the

consumer toxicology space, specifically with respect to applying new and emerging technologies

to issues impacting human health.

       139.    Chastain is a transgender woman. Her sex assigned at birth was male, but she has

a female gender identity.

       140.    She was diagnosed with gender dysphoria in 2015.

       141.    Chastain has lived as a female in all aspects of her life since 2015. Since then, she

has been known only as a female to her family, to her workplace, and in her community. Chastain

legally changed her name to “Chastain” in September of 2016 via court order in Louisiana.

       142.    When Chastain interacts with others, they perceive her as a female. This is not only

affirming for her, it keeps her safe.

       143.    As Chastain’s career has progressed, she now needs to travel internationally for

work with increasing frequency. She has a work conference in France in October that is sponsored


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by CORESTA, an organization whose mission is to promote and facilitate international

cooperation and best practices in scientific research related to tobacco. It is important for

Chastain’s career and for her company that she attend this conference, as she has the requisite

subject matter expertise to represent her company globally among scientists in her field of work.

       144.    Chastain was able to update her Virginia driver’s license in 2019 to an accurate,

female sex designation, but her passport has a male sex designation. She sent her passport in for

expedited processing on December 27, 2024 to a passport agency in Philadelphia to receive an

accurate, female sex designation.

       145.    Having a female sex designation on her driver’s license has been very important to

Chastain, as it has resulted in her rarely being misgendered when presenting her driver’s license,

which ensures her safety as she navigates local and domestic travel. Before having an accurate

driver’s license, she would face issues carrying out everyday tasks. For example, providing a

driver’s license with an inaccurate sex designation has outed Chastain as transgender when trying

to attend concerts, order drinks, open a bank account, and lease an apartment.

       146.    Chastain is terrified that having an inaccurate sex designation on her passport will

place her in uncomfortable and unsafe circumstances. Her fears are justified: in 2017, prior to

updating her driver’s license to her accurate sex designation, she had a harrowing experience going

through a TSA security checkpoint at the Richmond Airport. Two agents isolated Chastain in a

holding area, where she was left alone for thirty minutes, until a manager entered and conducted a

strip search of her body. She believes that this was a direct result of the perception that her outward

appearance did not match the sex designation on her license.

       147.    Chastain has reached a stage in her career that requires her to travel internationally

more frequently, and traveling with an inaccurate passport is not a viable option for her. Chastain

is suffering from anxiety knowing that a document that is supposed to help identify her will now

not only make it harder to identify her, but will also likely put her safety at risk when she uses it,

both abroad and during her return to the United States.



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       148.     Chastain is further concerned that having an inaccurate passport will lead to

confusion and increased processing times when traveling internationally, and may result in missed

calls, meetings, or flights, and in lost opportunities, creating a financial burden. She is also

disheartened that she will potentially lose out on advancement potential at her company given the

fact that her cisgender colleagues will be able to attend important international meetings and

conferences that she cannot.

                5.     Drew Hall

       149.     Drew Hall is twenty-five years old and use the pronouns “they” and “them.”

       150.     Drew is currently a Ph.D. student in Botany at the University of British Columbia

(“UBC”) in Vancouver, British Columbia in Canada. Drew has lived in Vancouver since August

2022 when their program began, and they will live there until approximately 2027–2028 when

their program concludes. In addition to studying at UBC, Drew works as a Research Assistant and

Teaching Assistant at their university.

       151.     Drew’s sex assigned at birth was male, but they do not have a male gender identity.

       152.     Drew was diagnosed with gender dysphoria in August of 2024.

       153.     Drew identifies as a nonbinary femme person, which means that even though their

sex assigned at birth was male, they do not live as or identify as male and instead express

themselves in a feminine manner.

       154.     Drew has lived as a nonbinary person in all aspects of their life since 2024, and they

have known that their gender identity was different than their sex assigned at birth since 2022.

Drew is known as a nonbinary person to their family, to their classmates and professors, and in

their community. Drew finally feels like themself and that those around them see them for who

they are.

       155.     Drew is frequently required to travel internationally because they have been

studying and living full time in Canada for over two years and will be in Canada for several more

years. Drew’s family lives in Wisconsin, and Drew travels back to the United States at least four


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to five times a year. Two to three of those visits are typically to see their family in Wisconsin, and

the other visits are to see close friends in Washington and Oregon, given their proximity to those

two states. Most pressingly, Drew needs to travel to Wisconsin for a family wedding in May and

for a botany conference in July.

        156.   Drew legally changed their name by court order in Wisconsin in December 2024,

and has updated the sex designation with the Social Security Administration and on their driver’s

license, which now both accurately reflect the name “Drew” and an “F” for their sex designation.

Drew’s birth certificate has an updated name but not an updated sex designation because Wisconsin

requires a proof of sex change, which Drew cannot provide at this time.

        157.   When Drew interacts with government officials, they do not perceive Drew as male.

Instead, Drew is perceived as a femme person. This is not only affirming for Drew, it keeps them

safe.

        158.   Drew’s United States passport (which is their only passport) still reflects an

inaccurate name and a male sex designation. On January 9, 2025, Drew mailed their passport to

the State Department’s national processing center and requested an updated female sex designation

and name change on their passport. Drew was notified by email that their passport arrived at the

center on January 17. Drew has received no further updates since January 17 and does not know

whether the agency will return a passport that accurately reflects how they identify and express

their identity and that matches their other identity documents. Drew currently does not have access

to their passport and therefore currently is unable to leave Canada.

        159.   Drew relies on their passport frequently to travel back to the U.S. to see their family

and friends. There are also many other reasons Drew uses their passport while living in Canada.

To open a bank account in Vancouver, Drew is required to present their U.S. passport. Drew’s

employer (UBC) requires Drew’s passport for their employment at the university. Any time Drew

interacts with the Canadian government, they need to present their U.S. passport, as it is the only

form of identification that Canada recognizes for non-citizens and non-permanent residents.

Without their passport, Drew is facing many struggles residing in Canada. These problems are

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being caused by the Agency Defendants’ suspension of the processing of Drew’s application for a

changed sex designation and name change on their passport, and by the Agency Defendants

holding Drew’s current passport.

       160.    Drew is deeply concerned that continuing to have a male sex designation on their

passport will lead to negative and invasive interactions with border agents and TSA employees as

a result of the increased hostility in the United States and elsewhere toward gender-nonconforming

people like Drew—hostility that the Executive Order and Passport Policy embrace and cause.

Given that their other identity documents have been updated, Drew is also worried that continuing

to carry a passport with a name and sex designation that does not match their other identity

documents will lead to even more confusion and distress each time they must present their

passport. Additionally, continuing to have non-matching documents may present other challenges

for Drew, including with respect to their temporary status documents in Canada, and when they

visit places where multiple forms of identification are required. Drew’s most recent encounters

with border agents underscore these fears: border agents have regarded Drew with more suspicion

due to their gender nonconformity.

       161.    If Drew were to have to continue to carry a passport with a male sex designation,

they are afraid that they will encounter additional, invasive scrutiny and harassment every time

they use it, including because hostility toward gender nonconforming people like Drew has

increased and continues to grow. Drew is not perceived as male given their feminine expression,

and they would not feel safe traveling in the future, especially internationally, with documentation

that inaccurately indicates a male sex designation. Given how they express their identity and the

way they are perceived by other people, continuing to have a male sex designation on their passport

will indicate to any person who looks at Drew’s passport that they are transgender. This causes

Drew significant anxiety, especially because of the recent increase in anti-transgender rhetoric and

violence in the United States and elsewhere.

       162.    Drew feels alienated knowing that the U.S. government refuses to recognize them

for who they are. Having a passport that does not match who they are makes them afraid to return

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to the United States. And not having a passport—due to the State Department not returning it—

also creates the significant challenges described above.

               6.      Bella Boe

       163.    Bella Boe has lived in Cambridge since 2024, when she moved from New Jersey.

Bella is 18 years old and uses the pronouns “she” or “her.”

       164.    Bella is a freshman in college studying government.

       165.    She is a transgender woman.

       166.    She was diagnosed with gender dysphoria in 2017.

       167.    Bella has lived as female in all aspects of her life since she was 11 years old. Today,

she feels fully herself. Bella is currently known only as female to her family, to staff and peers at

her school, and in her communities in New Jersey and Cambridge.

       168.    Bella is active on campus. She is passionate about theater and the arts, and her

school offers many opportunities for her to participate in international programs and theater

productions. Bella is currently the stage manager for her theater group at school, which means she

manages and runs productions. Bella loves being a stage manager because it provides her with an

opportunity to build leadership skills and it allows her to be fully immersed in an art that she has

loved and engaged in since she was six years old. Bella’s theater group travels around the world

to put on shows for a range of audiences. For example, she is excited to serve as stage manager

for a production by her theatrical association in Bermuda in March 2025.

       169.    Bella similarly hopes to study abroad while obtaining her undergraduate degree,

and she plans on doing so in England.

       170.    Bella is only able to partake in these opportunities because she has travel

documents, like her passport, that accurately reflect who she is. That safety allows her to fulfill

her educational dreams and goals.

       171.    When Bella travels and interacts with government officials, they perceive her as a

female. This is not only affirming for Bella, it keeps her safe.


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       172.    Bella’s most recent passport, which she received in 2021, has a female sex

designation. She sent her passport in for renewal on January 23, 2025, to ensure that her current

passport would remain usable for as long as possible. Having a female sex designation on her

passport affords Bella safety and reassurance while traveling. She is terrified that, under the

Passport Policy, she will no longer be able to travel safely.

       173.    Bella would feel uncomfortable traveling with a passport that inaccurately stated a

male sex designation. Not only would this reflect an attempt to erase who she is, it would be

confusing for government officials who would otherwise identify her as female based on her

gender expression and invite additional, stressful scrutiny. Bella does not want her passport to out

her as transgender every time she uses it, especially when traveling outside of the United States in

countries that are not accepting of transgender people.

       174.    Without an accurate passport, Bella will be forced to miss out on many educational

opportunities that her cisgender peers are afforded, including opportunities that would advance her

own passions, education, and future career. Without an accurate passport, Bella will not be able

to leave the United States without anxiety and fear for her safety.

               7.      Reid Solomon-Lane

       175.    Reid Solomon-Lane is thirty-six years old and uses the pronouns “he” and “him.”

He has lived in Massachusetts since July of 2022, when he moved there from Austin, Texas. Reid

lives in North Adams with his wife and three young children.

       176.    Reid was a flight attendant for more than eight years and now serves as a flight

coordinator for a volunteer pilot organization.

       177.    Reid is a transgender man. His sex assigned at birth was female, but he has a male

gender identity.

       178.    Reid was diagnosed with gender dysphoria in 2007.

       179.    Reid has lived as a man in all aspects of his life since 2007. Since then, he has been

known only as male to his family, his workplace, and in his community in Massachusetts, and he


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is perceived only as male by people who see him. This allows Reid to feel safe in interactions with

new people and prevents him from having to come out as transgender with each encounter.

       180.    This safety is especially essential for Reid while he is traveling.

       181.    Reid is frequently required to travel internationally because his mother-in-law

purchased a home in Ireland three years ago and spends a lot of her time there. Reid and his family

travel to Ireland so that Reid’s mother-in-law can see her grandchildren. Reid also visited Montreal

in 2022 and has plans to return to Montreal with friends in the next year given that he and his

family are just across the border from Canada.

       182.    Reid legally changed his name in 2007 via court order in Texas. His name and sex

designation have been updated with the Social Security Administration and on his driver’s license,

which now both accurately reflect his name and his being male.

       183.    Reid’s United States passport also reflects an accurate name and male sex

designation, and expires in 2028. Having an accurate passport provides Reid comfort, especially

when traveling with three young children outside of the United States. If Reid did not have a

passport that reflects who he is, it would dramatically impact the way he travels. Reid would be

less secure leaving the country with his children, as having a sex designation that so flagrantly

does not match his outward gender expression would potentially put him and his children at risk.

Because Reid’s passport serves as an identity and citizenship document that accurately reflects his

gender identity and presentation. He uses it for dentification and citizenship verification.

Removing access to an accurate passport will cause Reid repeated stress and risk serious problems

from it outing himself in routine interactions.

       184.    Reid thought he was at the point in his life where he could live his life with safety

and dignity, as an adult, as a husband, and as a parent. If his passport were to reflect a sex

designation that is inconsistent with who he is, that safety and dignity will be taken away from

him.




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                              CLASS ACTION ALLEGATIONS

       185.    Plaintiffs bring this action for themselves and on behalf of others similarly situated

pursuant to Federal Rule of Civil Procedure 23(b)(2). Plaintiffs seek certification of the following

Classes:

               a. All people who currently want, or in the future will want, to apply for, apply to

                   renew, or apply to change a U.S. passport and wish to use an “M” or “F” sex

                   designation on their passport that aligns with their gender identity but does not

                   match how the Executive Order defines their sex; and

               b. All people who currently want, or in the future will want, to apply for, apply to

                   renew, or apply to change a U.S. passport and wish to use an “X” sex

                   designation.

       186.    Excluded from the Classes are: (1) any Judge or Magistrate presiding over this

action and any members of their families and (2) Defendants.

       187.    The Classes are each so numerous that joinder of all members is impractical. As

alleged above, there are more than 1.6 million transgender people in the United States, more than

1.2 million nonbinary people, and as many as 5.6 million intersex people. A high percentage of

those people need and want to have passports with a sex designation the State Department will

refuse to issue them under the Passport Policy.

       188.    There are questions of law and fact common to the each whole Class, including (but

not limited to):

               a. Whether the Passport Policy and the Executive Order as applied to passports

                   discriminate on the basis of sex in violation of the Fifth Amendment;

               b. Whether the Passport Policy and the Executive Order as applied to passports

                   discriminates on the basis of transgender status in violation of the Fifth

                   Amendment;

               c. Whether the Passport Policy and the Executive Order as applied to passports

                   are motivated by illegitimate animus;

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                 d. Whether the Passport Policy and the Executive Order as applied to passports

                    infringe the Fifth Amendment rights to free movement and travel;

                 e. Whether the Passport Policy and the Executive Order as applied to passports

                    infringe the Fifth Amendment right to privacy;

                 f. Whether the Passport Policy and the Executive Order as applied to passports

                    infringe the First Amendment right to free speech and expression;

                 g. Whether the discrimination perpetuated by the Passport Policy and the

                    Executive Order as applied to passports survives the requisite level of scrutiny,

                    including:

                         i. The legitimacy and strength of the government interests asserted in

                            support of it; and

                        ii. The extent to which it serves, is related to, or is tailored to those

                            interests; and

                 h. Whether the Passport Policy is arbitrary, capricious, an abuse of discretion, or

                    otherwise contrary to the APA.

       189.      Plaintiffs’ claims are typical of the claims of the Class members they represent.

Plaintiffs have been harmed by the same Defendants and on the same basis as all members of the

Classes they represent, including because Defendants’ actions violate Plaintiffs’ and the Class

members’ constitutional rights, are in violation of law, and are arbitrary and capricious and

otherwise in violation of the APA. Plaintiffs seek the same relief as all Class members they

represent.

       190.      Plaintiffs will fairly and adequately protect the interests of the Classes they

represent and have retained counsel competent and experienced in similar litigation, including

class actions. Plaintiffs are committed to the vigorous prosecution of this suit and have no interests

that are adverse to the Classes. Plaintiffs are represented by experienced counsel from the

American Civil Liberties Union Foundation, the ACLU Foundation of Massachusetts, and the law

firm of Covington & Burling LLP.             The attorneys affiliated with the above law firm and

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organizations, and who are appearing in this matter, have extensive experience in complex

constitutional litigation and class action litigation.     They also have extensive experience

representing transgender litigants. Plaintiffs’ counsel intends to describe their credentials more

fully in any forthcoming motion for class certification.

       191.     Defendants have acted or refused to act on grounds that apply generally to the

Classes, and final injunctive or declaratory relief is appropriate for the Classes as a whole. The

Passport Policy and the Executive Order as applied to passports apply to every member of the

Classes and cause the same injuries. Defendants’ refusal to provide Plaintiffs and members of the

Classes with accurate sex designations on their passports—as a result of Defendants’ views on the

meaning of sex and animus toward transgender, intersex, and nonbinary people—applies to both

entire Classes. Injunctive or declaratory relief that the Passport Policy and the Executive Order as

applied to passports are unconstitutional and unlawful and that the Passport policy violates the

APA would benefit the each entire Class in the same way and remedy the same injuries as to each

entire Class.

       192.     All Class members have been injured by Defendants’ conduct and will continue to

be injured by Defendants’ conduct going forward unless declaratory or injunctive relief prevents

that continued and future injury.

                                            CLAIMS

                                 FIRST CAUSE OF ACTION
                            (Fifth Amendment – Equal Protection)
                                       All Defendants
       193.     Plaintiffs reallege and incorporate by reference the allegations in each of the

preceding paragraphs of this Complaint.

       194.     The Fifth Amendment provides that “[n]o person shall . . . be deprived of life,

liberty, or property, without due process of law.” The Supreme Court has held that the Due Process

Clause includes a guarantee against the United States of equal protection of the laws equivalent to

that guaranteed against the States by the Equal Protection Clause of the Fourteenth Amendment.


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       195.    The Passport Policy and the Executive Order as applied to passports violate the

Fifth Amendment’s equal protection guarantee in at least two distinct ways and do so both facially

and as applied. Defendants’ actions have harmed Plaintiffs and the putative Class members by

depriving them of the equal protection of the laws and will continue to deprive Plaintiffs and the

putative Class members of that constitutional protection unless Defendants are permanently

enjoined and their unlawful actions set aside.

       Discrimination Based on Sex

       196.    The Passport Policy and the Executive Order as applied to passports draw a facial

sex-based classification; that cannot be justified under the requisite heightened scrutiny or under

any standard of constitutional review.

       197.    The Passport Policy and the Executive Order as applied to passports define

“female” as a “person belonging, at conception, to the sex that produces the large reproductive

cell” and “male” as a “person belonging, at conception, to the sex that produces the small

reproductive cell,” and then restricts sex designations on passports to those definitions of “male”

and “female.” That is a sex classification.

       198.    If, for example, Plaintiff Perysian, who lives and expresses herself as a woman, and

has a female gender identity, were a “person belonging, at conception, to the sex that produces the

large reproductive cell,” the Passport Policy and the Executive Order as applied to passports would

provide her a female sex designation on her passport. But because Plaintiff Perysian is a “person

belonging, at conception, to the sex that produces the small reproductive cell,” the Passport Policy

and the Executive Order as applied to passports force her to have a male sex designation on her

passport. Or if Plaintiff Solomon-Lane, who lives and expresses himself as a man, and has a male

gender identity, were a “person belonging, at conception, to the sex that produces the small

reproductive cell,” the Passport Policy and the Executive Order as applied to passports would

provide him a male sex designation on his passport. But because Plaintiff Solomon-Lane is a

“person belonging, at conception, to the sex that produces the large reproductive cell,” the Passport

Policy and the Executive Order as applied to passports prohibit that.

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       199.    By issuing passports with a female sex designation to women who meet the

Executive Order’s definition of female but denying it to women who do not, and by issuing

passports with a male sex designation to men who meet the Executive Order’s definition of male

but denying it to men who do not, the Passport Policy and the Executive Order as applied to

passports facially classify based on sex.

       200.    The Passport Policy and the Executive Order also classify on the basis of sex in its

treatment of nonbinary and intersex people who desire an “X” sex designation on their passport.

Rather than allowing them to obtain a sex designation that accords with how they live their lives

and express themselves, or allowing them to obtain an unspecified sex designation, the Passport

Policy and the Executive Order as applied to passports require that intersex and nonbinary people’s

sex designations conform to the Executive Order’s definition of female or male. This facially

enforces the government’s binary and specific sex designations—that is, that a person the

Executive Order defines as male must have a passport that labels that person as a man and a person

the Executive Order defines as female must have a passport that labels that person as a woman

regardless of how they live and express themselves.

       201.    The Executive Order and Passport Policy were implemented in part because of, and

not simply in spite of, their adverse effects on the ability of people to depart from overbroad

expectations about sex. That, too, warrants heightened scrutiny as a sex classification.

       202.    Defendants cannot justify the sex classification utilized by the Passport Policy and

the Executive Order as applied to passports under the requisite heightened scrutiny or any level of

equal protection scrutiny. The Passports Policy’s sex classification is not substantially related to

an important government purpose.        Reversing the previous policy permitting Americans to

passport sex designations that are consistent with the sex they live and express and replacing it

with a policy that requires sex designations on passports that are not consistent with Americans’

identities or expression does not rationally advance any legitimate government interest—let alone

substantially advance an important governmental objective.



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       203.    In addition, the Passport Policy and the Executive Order as applied to passports are

impermissibly premised on assumptions, expectations, stereotypes, or norms about the nature of

sex, including that it is entirely determined by the definitions of male and female utilized by the

Passport Policy and mandated by provided in the Executive Order, and their insistence that sex can

only be a binary characteristic (i.e., either male or female) notwithstanding that for some people it

is not exclusively one or the other. Under the Passport Policy and the Executive Order as applied

to passports, Plaintiffs and the putative Class members are precluded from obtaining passports that

they may use without violation of their rights and risking serious harms due to the assumption,

expectation, stereotype, and norm that a person defined by the Passport Policy and the Executive

Order as male must live and present as male, and a person so defined female must live and present

as female. Plaintiffs and the putative Class members do not adhere to that assumption, expectation,

stereotype, and norm, and the Executive Order denies them usable passports entirely on that basis.

If Plaintiffs and the putative Class members belonged, at conception, to the sex that produces a

different size reproductive cell and adhered to the assumption, expectation, stereotype, and norm

of such a sex, the Executive Order would permit Plaintiffs and the putative Class members to

obtain a useable passport.

       Discrimination Based on Transgender Status

       204.    The Passport Policy and the Executive Order as applied to passports also classify

citizens based on transgender status, and that classification cannot be justified under the requisite

heightened scrutiny or under any standard of constitutional review.

       205.    On its face, the Passport Policy and the Executive Order as applied to passports

classify based on transgender status.

       206.    The Passport Policy and the Executive Order as applied to passports deny

transgender people, but not cisgender people, a passport that they can use without disclosing

sensitive personal information about their transgender status and risking discrimination,

harassment, and violence solely because they are transgender. The Passport Policy and the



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Executive Order as applied to passports therefore facially treat people differently on the basis of

being transgender.

       207.     Even if the Passport Policy and the Executive Order did not facially classify based

on transgender status, they were implemented in part because of, and not simply in spite of, their

adverse effects on transgender people.

       208.     Classifications based on transgender status independently warrant heightened

scrutiny.

       209.     Transgender individuals as a group possess all the indicia of a suspect or quasi-

suspect class that have been identified by the Supreme Court as requiring courts to apply

heightened scrutiny.      Transgender people have obvious, immutable, or distinguishing

characteristics that define that class as a discrete group and these characteristics bear no relation

to transgender people’s abilities to perform in or contribute to society. Transgender people have

historically been subject to discrimination across the country and remain a small minority of the

American population that lacks the political power to protect itself through the political process.

Gender identity is a core, defining trait that cannot be changed voluntarily or through medical

intervention, and is so fundamental to one’s identity and conscience that a person should not be

required to abandon it as a condition of equal treatment.

       210.     Limiting a person’s passport to whether they belonged at conception to a sex that

produces a particular size reproductive cell does not substantially advance an important

governmental interest.

       211.     Further, the Passport Policy and the Executive Order as applied to passports fail

any level of equal protection scrutiny because they were motivated by animus against transgender

people, as illustrated both by the statements of animus described in this Complaint and by the text

of the Executive Order itself. As explained, President Trump and members of his Administration

have repeatedly made derogatory and extreme comments about transgender people, including

linking them as a class to violence and sexual predation. The Executive Order itself wrongly states

that those who identify as transgender are “ideologues who deny the biological reality of sex [and]

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have increasingly used legal and other socially coercive means to permit men to self-identify as

women and gain access to intimate single-sex spaces and activities designed for women, from

women’s domestic abuse shelters to women’s workplace showers.” Executive Order § 1. It

repeatedly links being transgender with seeking to harm women. See id. There is no empirical

support for these assertions, and they are deeply offensive to and dehumanizing of hundreds of

thousands of transgender Americans who exist in every part of this country.

                                SECOND CAUSE OF ACTION
                              (Fifth Amendment – Right to Travel)
                                        All Defendants
       212.    Plaintiffs reallege and incorporate by reference the allegations in each of the

preceding paragraphs of this Complaint.

       213.    The Fifth Amendment provides that “[n]o person shall . . . be deprived of life,

liberty, or property, without due process of law,” and the Supreme Court has held that the liberties

protected by this Due Process Clause include fundamental rights to free movement and travel,

including travel abroad.

       214.    The Executive Order infringes the constitutional rights of Plaintiffs and the putative

Class members to free movement and travel, both facially and as applied. Defendants’ actions

have harmed Plaintiffs and the putative Class members by violating their constitutional right to

travel and will continue to violate that right unless the Defendants are permanently enjoined and
their unlawful actions set aside.

       215.    Federal law generally prohibits U.S. citizens from traveling out of or into the

country without a valid U.S. passport. See 8 U.S.C. § 1185(b). Foreign countries likewise

generally bar entrance by U.S. citizens without a valid U.S. passport and/or condition issuance of

a necessary visa on holding a valid U.S. passport. As explained in this Complaint, and incorporated

here, when traveling abroad, U.S. passports are necessary or practically necessary for numerous

purposes and are often the only form of identification carried by a U.S. citizen that will be

recognized or acknowledged by foreign authorities or private citizens abroad.


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        216.     The Passport Policy and the Executive Order as applied to passports infringe the

fundamental right of the Plaintiffs and the putative Class members to free movement and travel.

        217.     The Passport Policy and Executive Order as applied to passports will entirely

prevent certain transgender, nonbinary, and intersex individuals from leaving or returning to the

United States because their gender identity is different from that specified by the Executive Order.

        218.     The Passport Policy and the Executive Order as applied to passports force Plaintiffs

and the putative Class members to either not receive a passport or to receive a passport that puts

them at risk of harassment, discrimination, violence, and—in travel to some countries—arrest and

imprisonment. The Executive Order thereby gives Plaintiffs and the putative Class members a

Hobson’s choice: accept a passport that poses these extreme risks on the one hand or be denied

any form of international travel or admittance back into the United States from foreign travel on

the other.

        219.     Many transgender, nonbinary, and intersex individuals present to the world

consistent with their gender identity, rather than their sex as identified under the Executive Order’s

definitions of male and female. For such individuals, government authorities in the U.S. and

around the world may question whether a person’s passport is authentic or accurate due to the

mismatch between the sex they present as and the sex designation on their passport. For example,

if someone is a transgender woman and presents as a woman but, under the Executive Order, is

forced to select “M” on her passport because she is defined by the Passport Policy and the

Executive Order as male, government authorities may question whether the passport is authentic

and/or whether the holder is entitled to use it. Foreign authorities who question whether a passport

is authentic can create substantial difficulties or even dangerous treatment for transgender,

intersex, and nonbinary Americans when traveling—including confiscation of the passport and

detention, as well as arrest and imprisonment in countries where it is illegal to be transgender.

Accordingly, the Passport Policy and Executive Order can directly and foreseeably result in

substantial barriers to the exercise of the fundamental rights of Plaintiffs and the putative Class

members to free movement and travel.

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       220.      Reversing the previous policy permitting Americans to obtain sex designations on

passports that align with the sex they know themselves to be and present as and replacing it with

a policy that requires sex designations on passports that do not do so does not rationally advance

any legitimate government interest—let alone substantially advance an important governmental

objective.

                                   THIRD CAUSE OF ACTION
                                   (Fifth Amendment – Privacy)
                                           All Defendants
       221.      Plaintiffs reallege and incorporate by reference the allegations in each of the

preceding paragraphs of this Complaint.

       222.      The Fifth Amendment provides that “[n]o person shall . . . be deprived of life,

liberty, or property, without due process of law,” and the Supreme Court has held that the liberties

protected by this Due Process Clause include avoiding forced disclosure of private and intimate

information.

       223.      Both facially and as applied, the Passport Policy and the Executive Order as applied

to passports infringe the constitutional liberty interests of Plaintiffs and the putative Class

members, including the right to maintain intimate information as private. Defendants’ actions have

harmed Plaintiffs and the putative Class members by violating their constitutional rights and will

continue to violate the rights of Plaintiffs and putative Class members unless the Defendants are
permanently enjoined and their unlawful actions set aside.

       224.      For transgender, nonbinary, and some intersex people, whether “at conception” they

“belong[ed] to” “the sex that produces the large reproductive cell” or “the small reproductive cell”

is highly sensitive and personal medical information.

       225.      Requiring transgender, nonbinary, and intersex people to be identified as “male” or

“female” on their passports, when that is not the sex they live and express, reveals private, intimate,

and sensitive information about them to others without their consent, and is deeply invasive. Such

forced disclosure of a person’s transgender, nonbinary, or intersex status can put their safety at


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risk, given that transgender, nonbinary, and intersex people are often subject to violence,

harassment, and mistreatment on the basis of not being cisgender or identifying in binary terms.

       226.    Under the Passport Policy and Executive Order as applied to passports, Plaintiffs

and the putative Class members are required to display their sex as determined by the Executive

Order, when that does not match their gender identity or gender presentation. As a result, the

Passport Policy and Executive Order as applied to passports force disclosure of Plaintiffs’ and the

putative Class members’ transgender, nonbinary, or intersex status against their will, thereby

revealing private, intimate, and sensitive information and potentially inviting violence,

harassment, and mistreatment. By contrast, providing them “M” or “F” to align with their gender

identity, or providing an “X,” does not reveal this private and sensitive information.

       227.    Because the Executive Order infringes a fundamental right, it is subject to strict

scrutiny. It fails that scrutiny because it is not narrowly tailored to advance a compelling

government interest. It also does not even rationally advance any legitimate government objective.

The conclusory government interests identified in the text of the Executive Order are inaccurate

and motivated by animus. In addition, denying transgender, nonbinary, and intersex people

accurate passport sex designations is not rationally related to achieving even the illegitimate

interests identified by the Executive Order.

                                FOURTH CAUSE OF ACTION
                                    (First Amendment)
                                      All Defendants
       228.    Plaintiffs reallege and incorporate by reference the allegations in each of the

preceding paragraphs of this Complaint.

       229.    The First Amendment provides that “Congress shall make no law . . . abridging the

freedom of speech . . . .”

       230.    The Passport Policy and the Executive Order as applied to passports violate the

First Amendment rights of Plaintiffs and the putative Class members to free speech and expression.




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       231.    Under the First Amendment, the government cannot require a person to convey a

controversial, ideologically-infused message with which they disagree. The Passport Policy and

the Executive Order as applied to passports force transgender people and individuals who do not

identify as male or female to either (a) forgo having a passport or (b) express the government’s

counter-factual and ideologically-infused message that their sex is what the Executive Order

defines it to be each time they apply for or use a passport with the definition of sex mandated by

the Passport Policy and the Executive Order as applied to passports—a message with which they

strongly disagree.

       232.    The Passport Policy and the Executive Order as applied to passports therefore

impermissibly require compelled speech.

       233.    Underscoring that this is compelled speech, many people would reasonably fear

that the Passport Policy raises the possibility that the Administration may seek to prosecute them

for perjury if they fill out the sex designation field on the State Departments’ passport application

accurately, instead of following the Administration’s factually incorrect definition of sex. 33
       234.    Even if the sex designation on a passport were considered government speech, the

fact that the government forces the passport bearer to communicate the government’s message

every time they travel internationally, on all other occasions when passports must be used, or any

other time when they are used, violates their First Amendment rights by forcing them to participate

in the dissemination of an ideological message with which they do not agree. A passport is an item

that is readily associated with an individual, and the government cannot use it to force someone to

convey the government’s ideologically-infused speech with which they disagree.

       235.    Because the Passport Policy and the Executive Order as applied to passports force

individuals to communicate an ideological message with which they disagree, they are subject to

strict scrutiny. The Passport Policy and the Executive Order as applied to passports engage in this

infringement of a First Amendment right without any meaningful justification, let alone the

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  For the avoidance of doubt, Plaintiffs do not agree that any such prosecution would be factually
or legally appropriate.

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compelling government interest that the Constitution requires. They also are not narrowly tailored

to achieve any such interest. Even if a lower level of heightened scrutiny applied, the Passport

Policy and the Executive Order as applied to passports would fail because they lack an important

governmental objective, and the means the Defendants employ are not substantially related to

achieving any legitimate and sufficient objective.

                             FIFTH CAUSE OF ACTION
  (Administrative Procedure Act, 5 U.S.C. §§ 500 et seq., 706 – Contrary to Constitutional
                         Right, Power, Privilege or Immunity)
                                   Agency Defendants
       236.    Plaintiffs reallege and incorporate by reference the allegations in each of the

preceding paragraphs of this Complaint.

       237.    The APA, 5 U.S.C. §§ 500 et seq., provides that courts “shall . . . hold unlawful and

set aside agency action, findings, and conclusions found to be . . . contrary to constitutional right,

power, privilege, or immunity . . . .” 5 U.S.C. § 706(2).

       238.    The Executive Order is, by its terms, binding on the Agency Defendants, and on

information and belief, as publicly reported and recounted above, the Secretary of State and State

Department have already taken concrete steps to implement the Executive Order. The Secretary

of State and State Department’s Passport Policy and implementation of the Executive Order
constitute a final agency action under the APA. As a result of that action, each Plaintiff must either:

(1) attempt to obtain a passport with a sex designation that will necessarily be denied due to the

Executive Order, or (2) select a sex designation that does not match who they are, in violation of

their rights, and that risks subjecting Plaintiffs and the putative Class members to violence and

harassment. Further, as a direct result of agency action, Plaintiffs and the putative Class members

cannot renew existing passports with their appropriate sex designation without fear that it will be

confiscated or its processing suspended once it is submitted to the State Department. For example,

Plaintiff Perysian, who is a transgender woman and presents as female, applied for a passport with

an “F” sex designation on January 23, 2025, shortly after President Trump’s inauguration. The



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State Department denied Plaintiff Perysian a passport with an “F” sex designation and issued her

passport instead with an “M” sex designation.

       239.    For the reasons described in the preceding claims, and incorporated here, the

Passport Policy and any agency actions taken under the Executive Order are “contrary to

constitutional right, power, privilege, or immunity,” 5 U.S.C. § 706(2)(B), and therefore must be

held unlawful and set aside. In particular, as described above, those actions violate the Due Process

Clause of the Fifth Amendment for multiple independent reasons and violate the First Amendment.

                             SIXTH CAUSE OF ACTION
  (Administrative Procedure Act, 5 U.S.C. §§ 500 et seq., 706 – Arbitrary, Capricious, and
                                   Abuse of Discretion)
                                   Agency Defendants
       240.    Plaintiffs reallege and incorporate by reference the allegations in each of the

preceding paragraphs of this Complaint.

       241.    The Administrative Procedure Act (“APA”), 5 U.S.C. §§ 500 et seq., provides that

courts “shall . . . hold unlawful and set aside agency action, findings, and conclusions found to be

. . . arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law. . . .” 5

U.S.C. § 706(2).

       242.    The Executive Order is, by its terms, binding on the Agency Defendants, and on
information and belief, as publicly reported and recounted above, the Secretary of State and State

Department have already taken concrete steps to implement the Executive Order. The Secretary

of State and State Department’s Passport Policy and implementation of the Executive Order

constitute a final agency action under the APA. As a result of that action, each Plaintiff must either:

(1) attempt to obtain a passport with a sex designation that will necessarily be denied due to the

Executive Order, or (2) select a sex designation that does not match who they are, in violation of

their rights, and that risks subjecting Plaintiffs and the putative Class members to violence and

harassment. Further, as a direct result of agency action, Plaintiffs and the putative Class members

cannot renew existing passports with their appropriate sex designation without fear that it will be

confiscated or its processing suspended once it is submitted to the State Department. For example,

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Plaintiff Perysian, who is a transgender woman and presents as female, applied for a passport with

an “F” sex designation on January 23, 2025, shortly after President Trump’s inauguration. The

State Department denied Plaintiff Perysian a passport with an “F” sex designation and issued her

passport instead with an “M” sex designation.

       243.    Agency actions taken under the Executive Order are “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), for multiple

independent reasons.

       244.    The challenged agency actions are arbitrary, capricious, and an abuse of discretion

because they are irrational and unreasonable:

               a. The classifications imposed by the Passport Policy (as mandated in the

                  Executive Order) are not based on scientific or medical knowledge or evidence.

                  To the contrary, they contradict current scientific and medical understandings

                  and are based on an animus-laden view of sex, gender identity, and being

                  transgender, nonbinary, or intersex, that is divorced from reality. Even though

                  medical and scientific evidence—and the lives of millions of people—attests to

                  the existence of transgender, nonbinary, and intersex people, the Passport Policy

                  and Executive Order sweep that evidence aside in favor of empty rhetoric

                  unmoored from facts.

               b. The Passport Policy (per the Executive Order) also defines “male” and “female”

                  as a person who “at conception” “belong[s]” to the sex that produces the large

                  or small reproductive cell—but, as explained above and incorporated here,

                  embryos with either XX or XY chromosomes have undifferentiated

                  reproductive cells during the initial period after conception.

               c. In addition, grouping all people into “male” and “female” based on which

                  reproductive cell is likely to be produced ignores the established biological

                  reality that some individuals are intersex and do not, at conception, belong to a

                  sex that produces either large or small reproductive cells.

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              d. Requiring sex designations based upon the sex a person “belong[s]” to “at

                  conception” based upon the reproductive cells they are likely to produce does

                  not further an interest in accurately identifying passport holders.

       245.   Further, the challenged agency actions are arbitrary, capricious, and an abuse of

discretion because they are unsupported by a reasoned explanation:

              a. The Agency Defendants have provided no meaningful explanation for their

                  removal of the option for people to use a designation for their sex as they live

                  and express it, nor does the Executive Order do so.

              b. The Agency Defendants have provided no meaningful explanation for their

                  removal of the option for people to not specify their sex by using the “X”

                  designation, nor does the Executive Order do so.

              c. The Agency Defendants have provided no meaningful explanation for their

                  attempt to proclaim it the policy of the United States that transgender,

                  nonbinary, and intersex people do not exist. The Executive Order and Passport

                  Policy entirely fail to address any of the medical and scientific evidence

                  demonstrating the importance of legal recognition of transgender, nonbinary,

                  and intersex people and the medical and practical importance of accurate

                  identification.

              d. Further, the Agency Defendants have failed to explain what alternatives, if any,

                  were considered to address any potential legitimate interests the Passport Policy

                  could serve, nor does the Executive Order do so. This includes less restrictive

                  alternatives and those that do not discriminate on the basis of sex or being

                  transgender, nonbinary, or intersex.

              e. Relatedly, the Agency Defendants have failed to explain why the status quo

                  ante—which the State Department implemented for years before the Executive

                  Order—was in any way flawed, let alone sufficiently flawed to warrant this

                  abrupt and substantial change, nor does the Executive Order do so.

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       246.     The Agency Defendants have also failed to consider or address numerous crucial

aspects of the change in policy, nor does the Executive Order do so. Most acutely, they have failed

to consider or address the effects on transgender, nonbinary, and intersex people. They have not

even considered the effects on their own employees and the operation of the federal government.

The Agency Defendants have failed to consider or address the many ways they are foreseeably,

obviously, and directly harmed by the Passport Policy. They failed to consider or address the needs

of these individuals and their families to obtain accurate passports that do not expose them to

mistreatment.

                           SEVENTH CAUSE OF ACTION
(Administrative Procedure Act, 5 U.S.C. §§ 500 et seq., 706 – Failure to Observe Procedure
                                   Required by Law )
                                  Agency Defendants
       247.     Plaintiffs reallege and incorporate by reference the allegations in each of the

preceding paragraphs of this Complaint.

       248.     The Administrative Procedure Act (“APA”), 5 U.S.C. §§ 500 et seq., provides that

courts “shall . . . hold unlawful and set aside agency action, findings, and conclusions found to

be . . . without observance of procedure required by law. . . .” 5 U.S.C. § 706(2)(D).

       249.     The Executive Order is, by its terms, binding on the Agency Defendants, and on
information and belief, as publicly reported and recounted above, the Secretary of State and State

Department have already taken concrete steps to implement the Executive Order. The Secretary

of State and State Department’s Passport Policy and implementation of the Executive Order

constitute a final agency action under the APA. As a result of that action, each Plaintiff must either:

(1) attempt to obtain a passport with a sex designation that will necessarily be denied due to the

Executive Order, or (2) select a sex designation that does not match who they are, in violation of

their rights, and that risks subjecting Plaintiffs and the putative Class members to violence and

harassment. Further, as a direct result of agency action, Plaintiffs and the putative Class members

cannot renew existing passports with their appropriate sex designation without fear that it will be

confiscated or its processing suspended once it is submitted to the State Department. For example,

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Plaintiff Perysian, who is a transgender woman and presents as female, applied for a passport with

an “F” sex designation on January 23, 2025, shortly after President Trump’s inauguration. The

State Department denied Plaintiff Perysian a passport with an “F” sex designation and issued her

passport instead with an “M” sex designation.

        250.     Agency actions taken under the Executive Order are “without observance of

procedure required by law.” 5 U.S.C. § 706(2)(D). Under the Paperwork Reduction Act of 1980,

44 U.S.C. §§ 3501 et seq., when a federal agency seeks to collect information from the public

(often through government forms), it is obligated to “provide 60-day notice in the Federal Register,

and otherwise consult with members of the public and affected agencies concerning each proposed

collection of information[.]” 44 U.S.C. 3506(c)(2)(A).

        251.     As explained above, and incorporated here, the State Department has changed the

forms used to apply for, apply for renewal of, and apply to change passports and replaced them

with a form that does not permit collection of the “X” sex designation, but only permits collection

of the “M” and “F.” That change was not announced with 60 days’ notice in the Federal Register

or any other public consultation. Indeed, it was not announced at all. The State Department made

the change surreptitiously, using forms that are labelled expired.

                                      PRAYER FOR RELIEF

        Plaintiffs respectfully request that this Court:

        a.       Issue declaratory judgment that (i) the Passport Policy and the Executive Order as

applied to passports violate Plaintiffs’ constitutional rights; and (ii) the Passport Policy is arbitrary,

capricious, an abuse of discretion, and otherwise contrary to law in violation of the APA;

        b.       Preliminarily and permanently restrain or enjoin Defendants and their agents,

employees, representatives, successors, and any other person acting directly or indirectly in concert

with them, from enforcing the Passport Policy or the Executive Order as applied to passports, and

require that they permit (i) changes to the “Sex” designation on passports to the same extent they

did before the Executive Order and Passport Policy were issued, including allowing individuals to

self-attest to what their sex is and (ii) the use of an “X” sex designation on passports and passport

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applications to the same extent they did before the Executive Order and Passport Policy were

issued;

          c.       Hold unlawful, set aside, and vacate any agency actions taken under Passport Policy

or the Executive Order as applied to passports that had the purpose or effect of not permitting (i)

changes to the “Sex” designation on passports to the same extent they did before the Executive

Order and Passport Policy were issued, including allowing individuals to self-attest to what their

sex is and (ii) the use of an “X” sex designation on passports and passport applications to the same

extent they did before the Executive Order and Passport Policy were issued;

          d.       Certify classes as set forth in this Complaint and enter class-wide declaratory and

injunctive relief as described above;

          e.       Award attorney’s fees, costs, and expenses in accordance with law, including the

Equal Access to Justice Act, 28 U.S.C. § 2412; and

          f.       Grant all such other and further relief as the Court may deem just and proper.




 February 7, 2025                                     Respectfully submitted,

                                                      /s/ Jessie J. Rossman
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